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                                                 EXHIBIT A
                 Customary and Comparable Compensation Disclosure with Fee Applications

        CATEGORY OF                                   BLENDED HOURLY RATE
        TIMEKEEPER                          BILLED OR                   BILLED
                                           COLLECTED
                                                                 In this fee application
                                         Firm or offices for
                                           preceding year,
                                       excluding bankruptcy1
    Partner                                                $575                          $718
    Counsel                                                $265                          $595
    Associates                                             $369                          $340
    Paraprofessionals                                      $276                          $350
    All Timekeepers                                        $467                          $516
    Aggregated




1
 This blended hourly rate is adjusted to exclude hours and compensation billed to certain clients with special billing
arrangements.

                                                          1
